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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES SECURITIES                 )
AND EXCHANGE COMMISSION                   )
                                         )        No. 19 CV 7528
             v.                          )
                                         )        Judge Thomas Durkin
RISHI SHAH,                              )
SHRADHA AGARWAL,                         )
BRAD PURDY, and                          )
ASHIK DESAI                              )
                                         )

                  GOVERNMENT’S MOTION TO INTERVENE
                     AND STAY CIVIL PROCEEDINGS

      The UNITED STATES OF AMERICA, by LINDSAY JENKINS, Attorney for

the United States Acting Under Authority Conferred by 28 U.S.C. § 515, and

ROBERT ZINK, Chief of the Fraud Section of the Criminal Division, U.S.

Department of Justice, respectfully moves this Court for an order (a) permitting the

United States to intervene in this civil case and (b) staying discovery in this case until

the resolution of the related and recently indicted criminal case.

      I.     BACKGROUND

      On November 25, 2019, the plaintiff in this case, the Securities and Exchange

Commission (“SEC”), filed an amended complaint alleging that Rishi Shah, Shradha

Agarwal, Brad Purdy, and Ashik Desai, all former executives of Outcome Health,

violated the antifraud provisions of the federal securities laws by raising $487.5

million from investors based on false information. Doc. No. 9. On November 21, 2019,


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a federal grand jury in the Northern District of Illinois returned a superseding

indictment charging the same four defendants with—among other violations—mail

fraud, wire fraud, and bank fraud in connection with a scheme at Outcome Health to

sell advertising that did not exist and then raise almost $1 billion in debt and equity

financing. See United States v. Shah et al., 19 CR 864 (N.D. Ill.) (Durkin, J.). 1

       In addition to the overlapping defendants in both the SEC’s case and the

criminal case, both the SEC’s complaint and the criminal indictment involve

overlapping facts and law.       Specifically, according to both the SEC’s amended

complaint and the criminal superseding indictment, for many years the four

defendants caused Outcome Health to bill clients and collect revenue for advertising

that never ran. This was accomplished by: (1) misrepresenting to potential clients

the amount of advertising inventory that was available during the contracting

process; (2) misrepresenting to clients that Outcome had delivered on their

advertising campaigns in accordance with the terms of their contracts when this was

not true; and (3) billing and collecting revenue from clients as if the contracts had

been fully met. According to both the SEC’s amended complaint and the superseding

indictment, these practices resulted in inflated financial statements that reflected

revenue Outcome had never earned. The defendants then used the inflated financial




1An information charging Ashik Desai with one count of wire fraud was filed on November
14, 2019. The SEC filed its original complaint against Ashik Desai as the sole defendant on
the same day. On December 9, 2019, Desai pled guilty in the criminal case. The guilty plea
plea has likely narrowed the issues in the SEC case as to Desai.

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information to raise almost $1 billion capital. The SEC compliant focuses on a $487.5

million capital raise in 2017; the criminal indictment includes that capital raise plus

a $110 million loan and a $375 million loan obtained in 2016. Both the SEC’s

amended complaint and the superseding indictment allege that the defendants

knowingly used the inflated financial statements to raise the capital.

        As of the date of this motion, none of the defendants in the SEC’s case has filed

an answer to the complaint, and the parties have not yet filed a Rule 26(f) report or

otherwise engaged in discovery. The United States now seeks to intervene in this

civil proceeding in order to seek a stay of discovery pending resolution of the criminal

case.

        The SEC takes no position on the motion. Desai does not oppose the motion.

Counsel for Shah and Agarwal have advised the government that they are unable to

take a position on this motion in light of Shah and Agarwal’s pending motion to

amend the protective order in the criminal case. Purdy prefers not to take a position

on this motion until he knows Shah and Agarwal’s position on the motion.

        II.   INTERVENTION IS APPROPRIATE

        The United States’ intervention in this case is appropriate, and the Court has

the power to grant the government’s motion under Rule 24 of the Federal Rules of

Civil Procedure. Rule 24 authorizes two forms of intervention: intervention as of

right, and intervention as a matter of discretion. Intervention as of right is governed

by Rule 24(a)(2), which provides that “anyone shall be permitted to intervene in an


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action…when the applicant claims an interest relating to the property or transaction

which is the subject of the action and the applicant is so situated that the disposition

of the action may as a practical matter impair or impede the applicant's ability to

protect that interest, unless the applicant's interest is represented by existing

parties.” To intervene as of right under this rule, an applicant must demonstrate

that “(1) the application is timely; (2) the applicant has an ‘interest’ in the property

or transaction which is the subject of the action; (3) disposition of the action as a

practical matter may impede or impair the applicant’s ability to protect that interest;

and (4) no existing party adequately represents the applicant’s interest.” Security Ins.

of Hartford v. Schipporeit, 69 F.3d 1377, 1380 (7th Cir. 1995).

      Under Rule 24(b)(2), discretionary intervention is appropriate “when the

applicant’s claim or defense and the main action have a question of law or fact in

common.” To intervene under this portion of the Rule, an applicant must show the

existence   of   a   common      question       of   law   or   fact   and   independent

jurisdiction. Schipporeit, 69 F.3d at 1380.          Further, under Rule 24(b)(2), “[i]n

exercising that discretion, the court must give some weight to the impact of the

intervention on the rights of the original parties.” Id.

      In this context—that is, where there is both a pending SEC civil case and a

related criminal case—courts have routinely allowed the government to intervene in

the civil case for the purpose of requesting a stay. SEC v. Custable, 1:03-cv-02182 at

Doc. No. 266 (N.D. Ill. April 14, 2005); SEC v. Downe, 1993 WL 22126 *11 (S.D.N.Y.,


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Jan. 26, 1993) (“It is well-established that the United States Attorney may intervene

in a federal civil action to seek a stay of discovery when there is a parallel criminal

proceeding, which is anticipated or already underway, that involves common

questions of law or fact.”). Such interventions have been granted both as a matter of

right under Rule 24(a)(2), e.g., SEC v. Mutuals.com. Inc., 2004 WL 1629929 (N.D.

Tex.,    July   20,    2004),   and    as   a    matter    of   discretion   under Rule

24(b)(2), e.g., SEC v. Chestman, 861 F.2d 49, 50 (2nd Cir.1988); SEC v. Mersky, 1994

WL 22305 (E.D. Pa., Jan. 25, 1994); Downe, 1993 WL 22126.

        In this case, intervention by the United States is appropriate both as a matter

of right and as a matter of discretion. First, the government’s motion is timely,

having been brought just weeks after the criminal indictment was returned and

before the commencement of civil discovery in the SEC’s case.

        Second, there is substantial factual overlap between the civil enforcement

action brought by the SEC and the pending criminal case. As noted above, the

investor schemes in the two cases are largely the same, and the four defendants in

the SEC’s case are also defendants in the criminal case.

        Third, the government’s interest in this case will be impacted if this Court does

not stay the SEC’s civil case. Under similar circumstances, courts have determined

that a stay is appropriate in order to avoid unfair prejudice to the United States by

permitting the defendants to obtain civil discovery to which they would not otherwise

be entitled in a criminal case, including taking depositions of the government’s


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witnesses. See, e.g., Downe, 1993 WL 22126, at *12-13 (granting stay in part because

defendants would otherwise be able to obtain testimony via civil discovery from the

government's witnesses). Moreover, “even though the SEC is involved in this action,

the United States Attorney may have an interest in this litigation which is

qualitatively different from the SEC's interest.” Downe, 1993 WL 221126 at

*12; Mutuals.com, 2004 WL 1629929 at *2.

      Accordingly, the government requests that it be permitted to intervene in this

civil case for the purpose of seeking a temporary stay of discovery.

     III.   DISCOVERY IN THIS CASE SHOULD BE TEMPORARILY
            STAYED PENDING RESOLUTION OF THE CRIMINAL CASE

      Based on a district court’s inherent power to control and manage its docket,

this Court has authority to stay all or any portion of this case. See Landis v. North

American Co., 299 U.S. 248, 255 (1936) (“[T]he power to stay proceedings is incidental

to the power inherent in every court to control the disposition of the causes on its

docket with economy of time and effort for itself, for counsel, and for

litigants.”); Benevolence International Foundation, Inc. v. Ashcroft, 200 F. Supp. 2d

935, 938 (N.D. Ill. 2002).

      In determining whether to stay proceedings and the scope of any stay order,

courts examine “a variety of factors.” Benevolence International Foundation, Inc., 200

F. Supp. 2d at 938; Downe, 1993 WL 22126 at *12. One factor courts often examine

is whether the criminal matter has ripened into an indictment or remains an

investigation. See, e.g., Trustees of Plumbers and Outfitters National Fund v.

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Transworld Mechanics. Inc., 886 F. Supp. 1134, 1139 (S.D.N.Y. 1995) (“A stay of a

civil case is most appropriate where a party to the civil case has already been indicted

for the same conduct.”); Mutuals.com, 2004 WL 1629929 at *3.

      Courts    also    evaluate    whether         the    civil    plaintiff   opposes      the

stay, Mutuals.com, 2004 WL 1629929 at *3; SEC v. Mersky, 1994 WL 22305, at *3

(E.D. Pa. Jan. 25, 1994), and whether the civil defendants would somehow be

prevented   from   resuming     a   defense    to    the    civil   case   once   a   stay    is

lifted, Mutuals.com, 2004 WL 1629929 at *4; Mersky, 1994 WL 22305 at *3.

      Another factor that courts evaluate is whether the criminal prosecution will be

compromised by allowing the civil case—and the use of civil discovery procedures—

to continue. Benevolence International Foundation, Inc., 200 F. Supp. 2d at 939-

940; Mersky, 1994 WL 22305 at *4; Downe, 1993 WL 22126 at *12-13. Courts have

acknowledged “the great weight” that should be accorded to protecting the

government’s interest in preserving its ability to prosecute the criminal case without

interference from the civil case. Mersky, 1994 WL 22305 at *4 (citing United States v.

Stewart, 872 R2d 957, 962-63 (10th Cir. 1989)); Chestman, 861 F.2d at 50). As these

courts have noted, the focus is not on a civil party’s intent in seeking discovery under

the liberal civil discovery rules, but the effect that such discovery could have on the

criminal prosecution. E.g., Mersky, 1994 WL 22305 at *5 (citing Integrated Generics

v. Bowen, 678 F. Supp. 1004, 1009 (E.D.N.Y. 1988)); see also Benevolence

International Foundation, Inc., 200 F. Supp. 2d at 939 (“[A] trial court should not


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permit a defendant in a criminal case to use liberal civil discovery procedures to

gather evidence to which he might not be entitled under the more restrictive criminal

rules.”).

       Finally, in determining whether to stay a civil proceeding, courts often

examine whether a stay may result in saving judicial resources because “any

successful criminal prosecutions may streamline discovery and trial of the civil case

once the stay is lifted. Mersky, 1994 WL 22305 at *4; Benevolence International

Foundation, Inc., 200 F. Supp. 2d at 940-41.

       After examining these factors, courts have routinely issued stays of SEC civil

enforcement actions pending the resolution of related criminal cases.               See,

e.g., Chestman, 861 F.2d 49; SEC v. Doody, 186 F. Supp. 2d 379 (S.D.N.Y.

2002); Mutuals.com, 2004 WL 1629929; SEC v. Beacon Hill Asset Management, 2003

WL 554618 (S.D.N.Y., Feb. 27, 2003); SEC v. Tandem Management, 2001 WL

14488218 (S.D.N.Y. Nov. 21, 2001); SEC v. HGI Inc., 1999 U.S. Dist. LEXIS 17377

(S.D.N.Y., Nov. 9, 1999); Mersky 1994 WL 22305; Downe, 1993 WL 22126. Further,

several courts in this district have stayed non-SEC civil cases pending the resolution

of related criminal cases.     See, e.g., United States v. All Meat And Poultry

Products, 2003 WL 22284318 (N.D. Ill., Oct. 3, 2003); Benevolence International

Foundation, Inc., 200 F. Supp. 2d 935; Cruz v. County of DuPage, 1997 WL 370194

(N.D. Ill., June 27, 1997); United States v. Michelle's Lounge, 1992 WL 194652 (N.D.

Ill., Aug. 6, 1992); Marino v. Hegarty, 1987 WL 9582 (N.D. Ill., April 10, 1987).


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       In this case, virtually all factors weigh in favor of staying discovery until the

criminal case is completed. As an initial matter, the criminal case is pending, with an

indictment having been returned on November 21, 2019, and unsealed on November

25, 2019. Further, at this point, none of the relevant parties object to this motion.

Specifically, the SEC takes no position on the motion. Desai does not object to the

motion. The remaining three SEC defendants are not taking a position on the motion.

       In addition, neither the SEC nor any of the defendants will be prejudiced in

defending the civil case following the conclusion of the criminal case. As part of

discovery in the criminal case, the United States has already produced discovery that

includes more than 100 memoranda of interviews. The government is also attempting

to obtain and produce to the criminal defendants virtually all of the documents

produced to the SEC to date during its investigation. 2 In addition, it is likely that

one or more of the civil defendants, and possibly other witnesses, would invoke their

Fifth Amendment rights in response to notices of deposition. See SEC v. Nicholas,

569 F.Supp.2d 1065, 1070 (C.D. Cal. 2008) (“The specter of parties and witnesses

invoking their Fifth Amendment rights would render civil discovery largely one-

sided; the SEC would produce scores of documents and witness testimony only to be

precluded from gathering reciprocal discovery from the Defendants.”).



2The government understands that—with respect to numerous entities that produced records—the
SEC has obtained the same documents in its civil investigation that the government obtained during
the criminal investigation. To the extent that the SEC obtained documents in the civil investigation
that the government did not obtain in the criminal investigation, the government is attempting to
obtain those documents and will produce them to the defendants in the criminal case.

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      Finally, considerations of judicial economy and the public interest in efficient

use of judicial resources also favor the grant of a stay. For example, issues common

to both cases can be resolved in the criminal proceedings, narrowing or eliminating

factual issues in the civil litigation. Further, a stay “may streamline later civil

discovery since transcripts from the criminal case will be available to the civil

parties.” Twenty First Century Corp. v. LaBianca, 801 F. Supp. 1007, 1011 (E.D.N.Y.

1992) (granting stay over objection of civil defendants); see also, e.g., In re Grand Jury

Proceedings, 995 F.2d 1013, 1018 n.11 (11th Cir. 1993) (“although stays delay civil

proceedings, they may prove useful as the criminal process may determine and

narrow the remaining civil issues”); United States v. Mellon Bank, 545 F.2d 869, 872-

73 (3d Cir. 1976) (affirming district court's determination that “judicial economy

would best be served by a stay of civil proceedings”); Brock v. Tolkow, 109 F.R.D. 116,

120 (E.D.N.Y. 1985) (noting that resolution of the criminal case “might reduce the

scope of discovery in the civil case or otherwise simplify the issues”). Finally,

“collateral estoppel in the criminal case may expedite the resolution of the civil case.”

Nicholas, 569 F. Supp. 2d at 1070.

      Accordingly, the government requests that the Court issue a stay of discovery

in this case until the resolution of the criminal case.

      IV.    CONCLUSION

      For the foregoing reasons, the government requests that the Court grant its

motion to intervene and stay all discovery in this case pending further order of the


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Court and pending the resolution of the related criminal matter captioned United

States v. Shah, et al., 19 CR 864 (N.D. Ill., Nov. 21, 2019).



                                                Respectfully submitted,

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                                                28 U.S.C. § 515


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